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From:        John A. Broad (john.broad@neotechnology.com)
To:          John Mark Suhy (jmsuhy@purethink.com)
CC:          Jason Zagalsky (jason.zagalsky@neotechnology.com)
BCC:
Subject:     Discontinuation of Neo4j Government Edition
Attachments:
Sent:        06/19/2017 07:12:14 PM -0700 (PST)

John Mark,

Neo4j is hereby providing notice that Neo4j is discontinuing Neo4j Government Edition effective June 19, 2017 such that it is no
longer available for sale.

As such, PureThink is no longer authorized to market, resell, demonstrate or provide training on the Neo4j Government Edition.

All references to Neo4j Government Edition must be removed immediately from any marketing materials, including any web sites.

Neo4j will be notifying actual and potential Neo4j Government Edition Users of this discontinuation.

John

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